Case 2:19-cv-02703-JJT Document 1-4 Filed 04/29/19 Page 1 of 3




                                                  Exhibit B
         Case 2:19-cv-02703-JJT Document 1-4 Filed 04/29/19 Page 2 of 3




                    MARICOPA COUNTY JUSTICE COURTS, ARIZONA

West Mesa Justice Court      2050 W. University Dr., Mesa, AZ 85201 480-964-2958


Richard Mansfield,
                                                          NOTICE OF FILING
                                                          NOTICE OF REMOVAL
       Plaintiff,
                                                          Case No. CC2019059979SC
v.

Radius Global Solutions, LLC,

       Defendant.



       PLEASE TAKE NOTICE that defendant, Radius Global Solutions, LLC (“RGS”),

has filed a Notice of Removal removing this action with the United States District Court,

District of Arizona. A copy of the notice is attached hereto as Exhibit 1.

       The removal of this action was authorized by 28 U.S.C. § 1446. The state court is now

precluded from conducting any further proceedings unless and until the action is remanded

from the United States District Court, for the District of Arizona.

Dated: April 29, 2019                          Respectfully Submitted,

                                               /s/ Damian P. Richard
                                               Damian P. Richard (ae9922)
                                               SESSIONS FISHMAN NATHAN & ISRAEL LLP
                                               1545 Hotel Circle South, Suite 150
                                               San Diego, CA 92108-3426
                                               Telephone: (619) 222-1243
                                               Email: drichard@sessions.legal
                                               Attorney for Defendant
                                               Radius Global Solutions, LLC



                                               1
         Case 2:19-cv-02703-JJT Document 1-4 Filed 04/29/19 Page 3 of 3




                             CERTIFICATE OF SERVICE

       I hereby certify that on April 29, 2019, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system.

 Richard Mansfield – Pro Se
 P. O. Box 40652
 Mesa, AZ 85274




                                                   /s/ Damian P. Richard
                                                   Damian P. Richard, Esq.




                                             2
